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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
In re

Carrie Bishop Kern
aka Carrie Lynn Bishop Kern
aka Carrie Lynn Bishop-Kern
                                                   CHAPTER        7
                                                   CASE NO.       8:18-bk-07770-RCT
      Debtor
______________________________/

RESPONSE TO TRUSTEE’S MOTION TO SELL REAL PROPERTY OF THE ESTATE
          (DOC. NO. 34) FILED BY GTE FEDERAL CREDIT UNION
        GTE FEDERAL CREDIT UNION DBA GTE FINANCIAL ("Creditor"), responds to the
Trustee’s Motion to Sell Real Property of the Estate with Consent of Secured Lenders (Doc. No.

34) (“Motion”) as to the following Real Property located at: 3804 CORTEZ UNIT D TAMPA,

FL 33614 ("Property") and states as follows:

        1.     The Trustee filed a Motion seeking to sell the Property free and clear of all liens

and encumbrances and titled the Motion “with Consent of Secured Lenders.”

        2.     Creditor holds a second mortgage on the subject property and objects to the relief

requested insofar that the Motion fails to state that the second mortgage will be paid in full at

closing according to a payoff quote.

        3.     Creditor asserts that Trustee’s attempt to sell the Collateral under section 363(f)

is flawed and the Trustee’s Motion seeks relief which cannot be granted.

        4.     Section 363(f) requires that one of the legal predicates for a sale be available to

the Debtor. The grounds provided for under Section 363(f) are exhaustive and include the

following:

               “(1)    applicable nonbankruptcy law permits sale of such property free and clear

                       of such interest;

               (2)     such entity consents;

               (3)     such interest is a lien and the price at which such property is to be sold is

                       greater than the aggregate value of all liens on such property
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                (4)     such interest is in bona fide dispute; or

                (5)     such entity could be compelled, in a legal or equitable proceeding, to

                        accept a money satisfaction of such interest.”

11 U.S.C. §363(f).

        5.      None of the subsections 1 -5 are applicable in the instant case. The Trustee cites to

§363(f)(2) as its grounds to sell the property free and clear of liens, however, only the first

mortgage lender has consented to the sale. The Trustee would need consent from Creditor as well

in order to meet the criteria.

        6.      Here, it is conceded in the Trustee’s Motion that the Creditor is not being paid in
full.

        7.      Creditor holds a second mortgage lien that cannot be avoided and cannot be

valued under §506(d). The Trustee lacks standing and power to strip the Creditor’s mortgage lien

in a Chapter 7 case, as Chapter 7 Trustee can not use Section 506 of the Bankruptcy Code on its

own to work a lien strip off. Bank of Amer. v. Caulkett.

        8.      To the extent that the sale contemplates a payoff of Creditor’s mortgage in an

amount less than the amount due and owing to Creditor, then Creditor would object to the sale.

        9.      Additionally, Creditor has already obtained relief from the automatic stay in this

bankruptcy case (Doc. No. 29).

        WHEREFORE, Creditor requests that the Court enter an Order Denying Trustee's Motion

or in the alternative, that the Court set the matter for hearing.


                                                        /s/ Nicole Mariani Noel
                                                        Nicole Mariani Noel
                                                        Kass Shuler, P.A.
                                                        P.O. Box 800
                                                        Tampa, FL 33601
                                                        Phone: (813) 229-0900 Ext. 1343
                                                        Fax: (813) 229-3323
                                                        nmnoel@kasslaw.com
                                                        Florida Bar No. 69883
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                              CERTIFICATE OF SERVICE
        I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on
July 22, 2020, by U.S. Mail and/or electronic mail via CM/ECF pursuant to Local Rule 1001-2
to: Carrie Bishop Kern aka Carrie Lynn Bishop Kern aka Carrie Lynn Bishop-Kern, 2086 Druid
Park Dr. N. , Clearwater, FL 33764; Gary H Baker, 2470 Sunset Point Rd, Clearwater, FL 33765;
Carolyn R. Chaney, Trustee P.O. Box 530248, St. Petersburg, FL 33747.


                                                  /s/ Nicole Mariani Noel
                                                  Nicole Mariani Noel

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